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                                        U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                   April 27, 2018


BY ECF AND HAND

The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Cohen v. United States, 18 Mag. 3161 (KMW)

Dear Judge Wood:

       The Government respectfully submits this letter to advise the Court that the Government
and counsel for proposed Intervenor Stephanie Clifford have met and conferred regarding her
Motion to Intervene (the “Motion”), as the Court directed. At this time, with the consent of
counsel for Ms. Clifford, the Government requests that the Motion be held in abeyance pending
these ongoing discussions.

                                               Respectfully submitted,

                                               ROBERT KHUZAMI
                                               Attorney for the United States,
                                               Acting Under Authority Conferred by
                                               28 U.S.C. § 515


                                            By: ___/s/______________________
                                               Rachel Maimin
                                               Andrea Griswold
                                               Thomas McKay
                                               Nicolas Roos
                                               Assistant United States Attorneys
                                               (212) 637-2460

cc: Michael J. Avenatti, Esq. (by email)
